DATE: January 7, 2025


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Wei Zeng, et al.
             v. Charles Wang
             Record No. 0523-23-4
             Opinion rendered by Judge Friedman on
              October 8, 2024

          2. Wesley Shifflett
             v. Brian J. Hill, et al.
             Record No. 1357-23-4
             Opinion rendered by Judge Lorish on
              October 15, 2024

          3. Tysons Corner Hotel Plaza LLC
             v. Fairfax County
             Record No. 1655-23-4
             Opinion rendered by Senior Judge Annunziata on
              October 29, 2024

          4. Rasheem Watts
             v. Commonwealth of Virginia
             Record No. 1132-22-1
             En banc opinion rendered by Judge Chaney on
              November 6, 2024

          5. D’Andre Davon Ballard
             v. Commonwealth of Virginia
             Record No. 1698-23-1
             Opinion rendered by Judge Lorish on
              November 6, 2024

          6. Commonwealth of Virginia, Department of Taxation
             v. FJ Management, Inc., d/b/a FJI, Inc.
             Record No. 0701-23-2
             Opinion rendered by Judge Callins
               on November 12, 2024
7. Demetrius Lamar Bazemore
   v. Commonwealth of Virginia
   Record No. 0031-24-1
   Opinion rendered by Judge Beales
     on November 12, 2024

8. Maurice Tirrell Williams
   v. Commonwealth of Virginia
   Record No. 1441-23-1
   Opinion rendered by Chief Judge Decker
     on November 19, 2024

9. Joseph Campbell, et al.
    v. Groundworks Operations, LLC, et al.
   Record No. 1476-23-4
    Opinion rendered by Senior Judge Annunziata
      on November 19, 2024

10. Erica Rakia Evans
   v. Commonwealth of Virginia
   Record No. 1996-23-1
   Opinion rendered by Judge Raphael
     on November 19, 2024

11. Ted Anthony Jennings, Jr.
    v. Commonwealth of Virginia
    Record No. 1407-22-3
    En banc opinion rendered by Judge Lorish on
     December 3, 2024
      The following cases in which the Court of Appeals issued published opinions have been
   disposed of by the Supreme Court:

   1. Marco Antonio Martinez Ayala
      v. Commonwealth of Virginia
      Record No. 0748-22-2
      Opinion rendered by Chief Judge Decker
        on October 13, 2023*
      Refused (240501)

   2. Tara Ann Baez
      v. Commonwealth of Virginia
      Record No. 0073-23-3
      Opinion rendered by Judge Fulton
        on November 14, 2023
       Affirmed by opinion rendered on December 19, 2024 (230899)

   3. Patrick Austin Carolino
      v. Commonwealth of Virginia
      Record No. 1270-21-1
      En banc opinion rendered by Judge Friedman
        on November 28, 2023
      Judgment of Court of Appeals reversed and final judgment entered reinstating
         conviction by opinion rendered on December 12, 2024 (230945)

   4. Dustin Lee Hamilton
      v. Commonwealth of Virginia
      Record No. 1367-22-1
      Opinion rendered by Judge Beales
        on February 6, 2024
      Refused (240267)

   5. Michael R. Agnew, et al.
      v. United Leasing Corporation
      Record No. 1724-22-1
      Opinion rendered by Judge Malveaux
        on April 30, 2024
      Refused (240579)

   6. Michael Jason Drexel
      v. Commonwealth of Virginia
      Record No. 1805-22-4
      Opinion rendered by Chief Judge Decker
        on May 7, 2024
      Refused (240513)




*Delayed appeal awarded by Supreme Court of Virginia on April 23, 2024
7. Brian Edward Sheets
   v. Commonwealth of Virginia
   Record No. 0081-23-3
   Opinion rendered by Judge Beales
     on May 7, 2024
   Refused (240473)

8. City of Emporia
    v. County of Greensville
   Record No. 0792-23-2
    Opinion rendered by Judge AtLee
      on June 11, 2024
    Refused (240608)
    The Supreme Court issued opinions in the following cases, which had been appealed from this
Court:

    1. Junior Josephson
        v. Commonwealth of Virginia
        Record No. 2001-22-4
        Order dismissing appeal by Judges Huff, Athey and Causey on September 27, 2023
        Judgment of Court of Appeals affirmed by opinion rendered on December 12, 2024
        (230856)

    2. Bon Secours-DePaul Medical Center, t/a DePaul Medical Center, et al.
       v. Vasilia C. Rogakos Russell, etc.
       Record No. 1134-22-1
       Memorandum opinion rendered by Judge Callins on October 31, 2023
       Judgment of Court of Appeals affirmed by opinion rendered on January 2, 2025
       (230879)
